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                   BOP Implementing Modi ed Operations
                      In order to mitigate the spread of COVID-19, the BOP is operating under the following conditions:




            SOCIAL VISITS: Social visits are suspended. Inmate telephone system minutes will be increased to 500 minutes per
            calendar month Bureau-wide.

            INMATE MOVEMENT (Updated): As we previously described generally, inmate internal movement is suspended with
            limited exceptions. This suspension, however, does not mean the BOP has ceased all inmate movements because the
            federal judicial system as well as state courts continue to process criminal cases.

            These movement exceptions may include, but are not limited to, transfers related to forensic studies, writs, Interstate
            Agreements on Detainers (IAD), medical or mental health treatment (including local medical trips), and RRC
            placements. The BOP also needs to move inmates to better manage the detention bedspace as well as assure that
            administrative facilities do not become overcrowded beyond available resources.

            The BOP and the USMS are coordinating carefully to transport and transfer federal inmates into the Bureau's custody
            while taking proactive steps, including aggressive testing, to mitigate the transmission of COVID-19 into the federal
            prison environment. The Bureau is processing all newly-sentenced BOP inmates through one of three quarantine sites
            - - FCC Yazoo City, MS; FCC Victorville, CA; and FTC Oklahoma City, OK, or to a BOP detention center/jail unit. The BOP
            will test all inmates upon arrival at a BOP detention center/jail unit or at one of the three quarantine sites. All inmates
            will be tested again before movement to their designated BOP facility.

                  Inmates being released to community custody are quarantined for 14 days prior to release. After that period: If
                  the inmate has no symptoms and a temperature less than 100.4 degrees F, the inmate will be transferred;
                  If the inmate has COVID-19 symptoms, or temperature greater than 100.4 degrees F, they will not be transferred
                  and will instead be immediately placed in isolation.

            LEGAL VISITS: Legal visits will be suspended for 30 days, at which time the suspension will be re-evaluated. Case-by-
            case approval at the local level and con dential legal calls will be allowed in order to ensure access to counsel. If
            approved for an in-person visit, the attorney will need to undergo screening using the same procedures as staff.

            Access to legal counsel remains a paramount requirement and will be accommodated to the maximum extent
            practicable. Although legal visits are generally suspended for 30-days, case-by-case accommodation will be made at
            the local level. If approved for an in-person visit, the attorney will need to undergo advanced health screening, to
            include a temperature check.

            OFFICIAL STAFF TRAVEL: O cial staff travel, with the exception of relocation travel, is suspended.

            TRAINING: All staff training is suspended (to include conferences and meetings), with the exception of basic training
            for new staff.

            CONTRACTORS: Contractors performing essential services or necessary maintenance on essential systems will
            undergo advanced health screening, to include a temperature check. All other contractor access is suspended.
            Contractors who require access will be screened using the same procedures as staff prior to entry.

            Essential services include, for example, medical services, mental health services, religious services and critical
            infrastructure repairs.

            A copy of the Visitor/Volunteer/Contractor COVID-19 Screening Tool will be required for all vistors, volunteers, and
            contractors. A copy will be provided by staff members at the lobby for all institutions.


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             VOLUNTEERS: Volunteer visits are suspended, unless approved by the Deputy Director of the BOP. Alternate means of
             communication will be considered for inmates who request to speak with a religious advisor. Volunteers who are
             approved for access will be screened using the same procedures as staff prior to entry.

             A copy of the Visitor/Volunteer/Contractor COVID-19 Screening Tool will be required for all vistors, volunteers, and
             contractors. A copy will be provided by staff members at the lobby for all institutions.

             SCREENING OF STAFF: Enhanced health screening of staff is being performed at all BOP locations. Such screening
             includes self-reporting and temperature checks.

             SCREENING OF INMATES: The BOP will continue to screen inmates for COVID-19 following previously-indicated
             practices:

                     All newly-arriving BOP inmates are processed through quarantine or jail/detention sites and screened for COVID-
                     19 exposure risk factors and symptoms.
                     Asymptomatic inmates with exposure risk factors are quarantined.
                     Symptomatic inmates with exposure risk factors will be isolated and tested for COVID-19 per local health
                     authority protocols.

             TOURS: Tours are suspended. Any exceptions must be approved by the Deputy Director. If approved, participants will
             be screened using the same procedures as staff prior to entry.

             MODIFIED OPERATIONS: BOP is implementing modi ed operations to maximize social distancing in our facilities, as
             much as practicable. To that end, inmates are limited in their movements to prevent congregate gathering and
             maximize social distancing. Essential inmate work details, such as Food Service, continue to operate with appropriate
             screening. Inmate movement in small numbers is authorized for the following purposes:

                  A. Commissary

                  B. Laundry

                  C. Showers three times each week

                  D. Telephone, to include legal calls, and access to TRULINCs


             Note that inmate movement is still expected to allow, when necessary, for the provision of required mental health or
             medical care, including continued Sick Call. Select Unicor operations also continue.

             PRIVATE DETENTION CONTRACTORS: This COVID-19 guidance is being shared with private prisons and RRCs for
             dissemination to staff and inmates in these facilities, so that similar protocols can be implemented.




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